        Case 1:10-cr-00032-JD   Document 36    Filed 10/21/10   Page 1 of 1



                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                            Criminal No. 10-cr-32-01-JD

James Meattey


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

35) filed by defendant is granted.            The continuance is limited to

60 days.      Trial is continued to the two-week period beginning

January 4, 2011, at 9:30 AM.         As Co-defendant Megann Glidden has

assented to the continuance, her trial is also continued to the

January 4, 2011 trial period.

      Defendant Meattey shall file a waiver of speedy trial rights

within 10 days.     The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    October 21, 2010

cc:   John Pendleton, Esq.
      Kenneth Perkes, Esq.
      U.S. Marshal
      U.S. Probation
